Case 2:05-CV-O2157-SHI\/|-tmp Document 12 Filed 07/21/05 Page 1 of 2 Page|D 21

F&ED HV__ Ddz
IN THE UNITED STATES DISTRICT cOURT

FOR THE WESTERN DISTRICT OF TENNESSEE

 

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BRIAN C wILsoN US§BHKHCU§H
` ' W __;.f §\.HMS
Plaintiff,
vs. No. 05-2157-Map

TENNESSEE DEPARTMENT OF
TRANSPORTATION, ET AL.,

Defendants.

 

ORDER EXTENDING TIME

 

Before the court is a letter dated July 15, 2005, from the
defendant to the court which is deemed to be a motion for an
extension of time within which to respond to the defendant's
motion for a more definite statement. For good cause shown, the
motion is granted. The plaintiff shall have to and including
July 22, 2005, within which to file his response.

It is so ORDERED this 10 y%ay of July, 2005.

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SAMUEL H. M.AYS, JR.
UNITED STA'I‘ES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CV-02157 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

